Case 2:19-cv-01458-RBS Document1 Filed 04/05/19 Page1of21
18:44 (Rev. 06/17) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
ROSEMARY ROUSSAW MASTERY CHARTER SCHOOLS, ET AL.
(b) County of Residence of First Listed Plaintiff PHILADELPHIA County of Residence of First Listed Defendant | PHILADELPHIA
(EXCEPT IN U.S, PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

& re a (Firm Name, Address, and Telephone Number) Attorneys (If Known)
SCHATZ & STEINBERG, P.C.

1500 JFK BLVD., SUITE 1300, PHILA, PA 19102
(215)845-0250

Il. BASIS OF JURISDICTION (Place an “¥” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Government 23 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State {Xl O 1 Incorporated or Principal Place Oo4 m4
of Business In This State
O 2. U.S. Government O 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place Os5 o85
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a O03 O 3. Foreign Nation O6 oO6

Foreign Country

Click here for: Nature of Suit Code Descriptions.

IV. NATURE OF SUIT (Place an “X

" in One Box Only)

ee

7 110 Insurance PERSONAL INJURY PERSONAL INJURY O 625 Drug Related Seizure O 422 Appeal 28 USC 158 0 375 False Claims Act
© 120 Marine 0 310 Airplane O 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal O 376 Qui Tam (31 USC
© 130 Miller Act 0 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
O 140 Negotiable Instrument Liability 1 367 Health Care/ O 400 State Reapportionment
(J 150 Recovery of Overpayment | [J 320 Assault, Libel & Pharmaceutical PRO © 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights © 430 Banks and Banking
(J 151 Medicare Act 0 330 Federal Employers’ Product Liability C1 830 Patent O 450 Commerce
(1 152 Recovery of Defaulted Liability 4 368 Asbestos Personal 0 835 Patent - Abbreviated 0) 460 Deportation
Student Loans 0 340 Marine Injury Product New Drug Application |0 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability Corrupt Organizations
( 153 Recovery of Overpayment Liability PERSONAL PROPERTY [| es “UR _.40) 480 Consumer Credit
of Veteran’s Benefits © 350 Motor Vehicle © 370 Other Fraud 0 710 Fair Labor Standards O 861 HIA (1395ff) 0 490 Cable/Sat TV
© 160 Stockholders’ Suits 4 355 Motor Vehicle © 37] Truth in Lending Act O 862 Black Lung (923) © 850 Securities/Commoadities/
190 Other Contract Product Liability © 380 Other Personal 0 720 Labor/Management 0 863 DIWC/DIWW (405(g)) Exchange
(4 195 Contract Product Liability | 360 Other Personal Property Damage Relations 0 864 SSID Title XVI © 890 Other Statutory Actions
196 Franchise Injury © 385 Property Damage 0 740 Railway Labor Act O 865 RSI (405(g)) 0 891 Agricultural Acts
(J 362 Personal Injury - Product Liability 0) 751 Family and Medical 0 893 Environmental Matters
Leave Act 0 895 Freedom of Information

Medical Malpractice

| REAL Ph ee : RISONER YNS | 790 Other Labor Litigation : Act
210 Land Condemnation © 440 Other Civil Rights Habeas Corpus: 1 791 Employee Retirement O 870 Taxes (U.S. Plaintiff 0 896 Arbitration
(1 220 Foreclosure 0 441 Voting © 463 Alien Detainee Income Security Act or Defendant) © 899 Administrative Procedure
O) 230 Rent Lease & Ejectment C442 Employment © 510 Motions to Vacate 0 871 IRS—Third Party Act/Review or Appeal of
© 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 Agency Decision
© 245 Tort Product Liability Accommodations © 530 General O 950 Constitutionality of
290 All Other Real Property 7) 445 Amer. w/Disabilities - ] 535 Death Penalty i State Statutes
Employment Other: © 462 Naturalization Application
G 446 Amer, w/Disabilities - | 540 Mandamus & Other | 465 Other Immigration
Other 550 Civil Rights Actions
O& 448 Education © 555 Prison Condition
0 560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “X” in One Box Only)

JX Original (12 Removed from 3. Remanded from C14 Reinstated or © 5 Transferred from © 6 Multidistrict 1 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity):
20 U.S.C. § 1681 et seq.; 42 U.S.C. §1983
Brief description of cause:

EDUCATION/CIVIL RIGHTS

VI. CAUSE OF ACTION

VII. REQUESTED IN O CHECK IF THIS I$ A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R-Cv.P. JURY DEMAND: M Yes No
VU RELATED CASE(S) 9
te a Te chahanel: #
IF ANY (See instructions): joNee A a Secor TER
DATE , s/s € SIGNATURE OF ATTORNEY OF RECORD
VL KA a
FOR OFFICE USE ONLY q Vv ™ V7

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
Case 2:19-cv-01458-RBS Documenti Filed 04/05/19 Page 2 of 21

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM

(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: 6316 E. Wister Street, Philadelphia, PA 19138

Aadeese- of DStenaant 5700 Wayne Avenue, Philadelphia, PA 19144

5650 Sprague Street, Philadelphia, PA 19138

Place of Accident, Incident or Transaction:

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [] No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement ofa patent already in suit or any earlier Yes [ | No

numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [ | No [|
case filed by the same individual?

I certify that, to my knowledge, the within case [7] is / [2] is ngt related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE: G-\-Lop\ 84509

Waorney-at-Law / Pro Se Plaintiff Attorney 1.D. # (if applicable)

CIVIL: (Place a V in one category only)
Federal Question Cases: Diversity Jurisdiction Cases:

Indemnity Contract, Marine Contract, and All Other Contracts Insurance Contract and Other Contracts

A, B,
Oo oO 1
C1 2. FELA CJ 2. Airplane Personal Injury
LJ] 3. Jones Act-Personal Injury CJ 3. Assault, Defamation
C] 4. Antitrust CJ 4. Marine Personal Injury
(] 35. Patent C] 5. Motor Vehicle Personal Injury
[_] 6. Labor-Management Relations (J 6. Other Personal Injury (Please specify):
[¥] 7. Civil Rights C] 7. Products Liability
[J 8. Habeas Corpus LC] 8. Products Liability - Asbestos
= 9. Securities Act(s) Cases L] 9. Allother Diversity Cases
10. Social Security Review Cases (Please specify):
CO 1.

All other Federal Question Cases
(Please specify}:

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

, Steven J. Schatz, Esquire

, counsel of record or pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[ Relief other than monetary damages is sought. oe
J
: “ Cl q J \ Sg ~
DATE: -| L : x f 84509
Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ, 609 (32018)

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Rosemnry hous OW CIVIL ACTION
v.
Mastery Charter Achools, et af. : NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.) ( 4

(f) Standard Management — Cases that do not fall into any one of the othér tracks. ( )

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Date Attorney-at-law Attorney for © Younht?
(UudBB-0250 (yin) 845-0265 Soachatz@$2 Gir .ceny
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:19-cv-01458-RBS Document 1

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROSEMARY ROUSSAW

As Legal Guardian of A.J., A Minor
6316 E. Wister St.

Philadelphia, Pennsylvania 19138

Plaintiff,
v.
MASTERY CHARTER SCHOOLS
5700 Wayne Avenue
Philadelphia, PA 19144

and

MASTERY CHARTER SCHOOL

PASTORIUS-RICHARDSON ELEMENTARY :

f/k/a FRANCIS D. PASTORIUS-
MASTERY CHARTER SCHOOL

5650 Sprague Street

Philadelphia, PA 19138

and

SCOTT GORDON, in his official and individual :

capacities
5700 Wayne Avenue
Philadelphia, PA 19144

and
HILLARY MESERVE, in her official and
individual capacities

5700 Wayne Avenue
Philadelphia, PA 19144

and

ERIC LANGSTON, in his official and individual :

capacities
5700 Wayne Avenue
Philadelphia, PA 19144

CIVIL ACTION

NO.

JURY TRIAL DEMANDED
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and

MICHAEL PATRON, in his official and
individual capacities

5700 Wayne Avenue

Philadelphia, PA 19144

Defendants.

COMPLAINT

NATURE OF THIS ACTION

L, On May 27, 2016, a thirteen year-old girl in 7" grade, A.J., was sexually assaulted
by another student at Pastorius-Richardson Elementary School in Philadelphia. A video of the
sexual assault was circulated among students and staff at the School. Despite the fact that there
had been multiple previous incidents of sexual harassment and assault at the School, the United
States Department of Education, which investigated the incident, determined that the School
failed to enact and employ even the most basic of safeguards and procedures to prevent and
respond to such incidents, as required by federal law. The School and its administrators sought
to deflect blame for their own failures and made the determination, based on a bogus and faulty
investigation, that the sexual incident was consented to by the thirteen year-old girl and blamed
her for the incident, further victimizing her in the process. As a result, A.J.’s grandmother and
legal guardian, Rosemary Roussaw, brings this lawsuit against Defendants and seeks damages
for the severe and devastating harm caused to her granddaughter, pursuant to Title LX of the
Education Amendments of 1972, 20 U.S.C. §1681, the Civil Rights Act of 1866, 42 U.S.C.
§1983, as well as common law claims for intentional infliction of emotional distress and breach

of fiduciary duty.
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PARTIES

2, Plaintiff Rosemary Roussaw (“Ms. Roussaw” or “Plaintiff’) is the legal guardian
and grandmother of A.J., a minor, residing at 6316 East Wister Street, Philadelphia, PA 19138.
A.J. was born on February 28, 2003 and, at all times relevant hereto, was a thirteen (13) year old,
female, seventh grade student at Francis D. Pastorius Mastery Charter School.

3. Defendant, Mastery Charter Schools (hereinafter “Mastery”), is a nonprofit
corporation organized and existing under the laws of the Commonwealth of Pennsylvania.
Mastery is the owner and operator of 24 charter schools in Pennsylvania and New Jersey, serving
approximately 14,000 students and employing more than 1,700 employees. Its principal place of
business is located at 5700 Wayne Avenue, Philadelphia, PA 19144.

4. Defendant, Mastery Charter School Pastorius-Richardson Elementary, formerly
known as Francis D. Pastorius- Mastery Charter School (hereinafter “Pastorius” or “the
School”), is a nonprofit corporation organized and existing under the laws of the Commonwealth
of Pennsylvania. At all times relevant hereto, Pastorius had approximately 600 students in
kindergarten through 8™ grade and was/is owned and operated by Defendant Mastery Charter
Schools. Pastorius is located at 5650 Sprague Street, Philadelphia, PA 19138.

5. Defendant, Scott Gordon, is an adult individual residing within the
Commonwealth of Pennsylvania who, at all times relevant hereto, served as Chief Executive
Officer of Defendant Mastery Charter Schools and was acting under color of state law. As CEO
of Mastery, at all times relevant hereto, Defendant Gordon oversaw and was primarily
responsible for all customs, policies and procedures of Mastery and the School, including with

respect to the requirements of Title IX.
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6. Defendant, Hillary Meserve, is an adult individual residing within the
Commonwealth of Pennsylvania who, at all times relevant hereto, served as Principal of
Defendant Pastorius and was acting under color of state law.

7. Defendant, Eric Langston, is an adult individual residing within the
Commonwealth of Pennsylvania who, at all times relevant hereto, served as Principal and/or
Assistant Principal of Defendant Pastorius and was acting under color of state law.

8. Defendant, Michael Patron (“Patron”), is an adult individual residing within the
Commonwealth of Pennsylvania who, at all times relevant hereto, served as Director of
Compliance of Defendant Mastery Charter Schools and was acting under color of state law. At
all times relevant hereto, Patron was responsible for ensuring Mastery and the School’s
compliance with the requirements of Title IX.

9. At all times relevant hereto, Ms. Roussaw was also employed as a crossing guard
outside of the School.

JURISDICTION AND VENUE

10.‘ This Court has jurisdiction over Plaintiffs’ claims for relief under 28 U.S.C.
§§1331, 1337, 1343, 2201, and 2202, since those claims are based in part on violations of and
arise under the laws of the United States, including the United States Constitution, 42 U.S.C. §
1983, and Title [IX of the Education Amendments of 1972, 20 U.S.C. §1681, and its
implementing regulation, 34 C.F.R. Part 106.

11. Jurisdiction is also invoked pursuant to 28 U.S.C. §1367 granting this Court
supplemental or pendent jurisdiction over the state law claims asserted under the common law of
the Commonwealth of Pennsylvania, including legal claims for breach of fiduciary duty and

intentional infliction of emotional distress, because the state claims and federal claims are so
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interrelated that they are the same case or controversy under Article III of the United States
Constitution.

12. Venue is proper in the Eastern District of Pennsylvania under 28 U.S.C. §1391 (b)
and (c) since Plaintiffs and Defendant reside in the Eastern District of Pennsylvania and since a
substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in the Eastern
District of Pennsylvania.

THE SEXUAL ASSAULT

13. On May 27, 2016, at Pastorius, A.J. was approached by a male, 15 year-old
student in eighth grade (“R.H.”), in the School auditorium. R.H. asked A.J. if he could have sex
with her, to which A.J. responded: “No.” Thereafter, R.H. persisted to which A.J. responded “I
can’t. I never did this before.” R.H. continued to persist by saying “it’s ok.” R.H. then pulled up
A.J.’s dress, pulled down her underwear and had sexual intercourse with A.J.

14. A.J. did not consent to having sexual intercourse with R.H. through her words or
conduct and, at the age of 13, did not otherwise have the legal capacity to give her consent.

15. Following the sexual assault, R.H. threatened A.J. and told her that “you better
not tell anybody” about this.

16. Unbeknownst to A.J. at the time of the sexual assault, R.H. recorded a video on
his cell phone depicting him having sexual intercourse with A.J.

17. A.J. was fearful and ashamed and did not say anything to anyone about the sexual
assault by R.H.

18. | Defendant Langston, the learned of the existence of the video on May 27, 2016-

the same day that the sexual assault occurred.
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19. Defendant Langston claimed to have conducted an investigation of the video upon
learning of its existence, but he did not contact Ms. Roussaw about the video and the sexual
encounter involving A.J. until June 9, 2016, thirteen days after her learned of the video.

20. The video was distributed among multiple students at the School, without A.J. or
Plaintiff's knowledge.

21; The School’s Principal, Defendant Hillary Meserve, admitted that she learned of
the sexual incident “about a week later” when she was shown “a video of the incident on a
student’s cell phone that Mr. Langston showed me.”

22. On June 9, 2016, Ms. Roussaw was called to come to the School to meet with
Defendant Langston. When she arrived in the School, she witnessed Defendant Langston
showing the video on his cell phone to other individuals that were gathered around him. He then
showed the video to Ms. Roussaw and told her that he had been in possession of the video for
“about a week.” Ms. Roussaw was devastated and distraught. Defendant Langston then brought
Ms. Roussaw into a meeting in a conference room at the School with A.J., R.H., R.H’s father,
Ms. Roussaw’s two daughters. Ms. Roussaw was questioned at the School by police officers
who were called in by the School to investigate.

23. Defendants callously dismissed the incident as “consensual,” notwithstanding the
fact that A.J. was only thirteen years old and stated that she told R.H. “no.”

24. Despite Defendants’ conclusion that A.J. had consented to sexual intercourse
(even though she was only thirteen years old and stated that she told R.H. “No”), Defendants

acknowledged that A.J. did not consent to the videotaping.
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25. Although she was a victim of sexual assault, Defendants Langston and Meserve
determined that A.J. should be suspended and was not permitted to return to School for the
remainder of the school year.

26. A.J. was forced to switch schools and is now in tenth grade at Martin Luther
King, Jr. High School in Philadelphia.

PRIOR SEXUAL ASSAULTS AT MASTERY

27. Prior to the sexual assault of A.J., there were multiple sexual harassment and
assault incidents at Mastery Schools that were known to Defendants, going back to 2008 or
earlier.

28. In 2008, as reported by the Philadelphia Inquirer, two eighth grade students
engaged in sexual intercourse in the stairwell of the school, resulting in the expulsion of the male
student. It was reported that the male student’s mother “said a school employee told her that
sexual activity is so rampant among some students that girls have been found with sexual
contracts stipulating to whom they wanted to lose their virginity.”

29, Earlier in 2016, only months prior to the sexual assault on A.J., a 13 year-old,
seventh grade student was sexually assaulted in the lunchroom at Pastorius Elementary. This
incident was known to other students, staff and members of the School community.

30. Despite the multitude of incidents of sexual misconduct and violence occurring at
the School, all of which were known to other students, staff and members of the School
community, Defendants failed to take prompt and effective steps to address the sexual violence
among its children and the hostile environment to which they were exposed.

INVESTIGATION OF THE SEXUAL ASSAULT BY THE U.S. DEPARTMENT OF
EDUCATION, OFFICE OF CIVIL RIGHTS

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31. The United States Department of Education, Office of Civil Rights (OCR)
conducted an investigation of the sexual assault against A.J. at the School, and identified
multiple significant deficiencies and areas of non-compliance with Title IX.

52. OCR determined that at the time of the sexual assault on A.J., Defendants did not
have a Title [X Coordinator; did not have any grievance procedures as required by Title IX; did
not have any policies or procedures for investigating reports of sexual assault or discrimination at
the School; did not have any policies or procedures in place to address sexual assault or
discrimination apart from its normal disciplinary policies and procedures; did not have any
policies or procedures in place for reporting about sexual assault or discrimination at the School;
did not provide any training to its students, administration, teachers and staff with respect to
sexual assault or discrimination as required by Title LX; and did not maintain records of incidents
of sexual assault or harassment.

33. OCR further determined, in part, the following:

Our investigation found that there were two separate incidents that
constituted conduct of a sexual nature that should have triggered an investigation
under Title [X: (1) the sexual encounter in the auditorium between the Student
[A.J.] and the Responding Party [R.H.]; and (2) the Responding Party videotaping
the sexual encounter in the auditorium without the Student’s consent. Our
investigation found, however, that neither the Principal nor the Assistant
Principal invoked Title IX during their investigation into each of these incidents.

Our investigation found that the video constituted conduct of a sexual
nature and that the Assistant Principal immediately took action to investigate the
video once he had notice of it. Mastery’s written statement to OCR and the
Student’s witness statement indicate that the student did not consent to being
videotaped; thus the evidence shows that the videotaping was unwelcome.
However, the evidence does not show that the School made a determination
regarding whether the video created a sexually hostile environment for the
Student, as required by Title IX. Further, OCR has concerns because there is no
indication that the School disciplined the Responding Party for his role in taking
the video without the Student’s consent or that the School took steps to provide
services such as counseling to the Student as a result of her being videotaped
without her consent and having that video distribute without her consent.
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With respect to the sexual encounter, our investigation found that the

School did not consider Title LX in its investigation of the incident because, based

on the facts it uncovered during its investigation (i.e. the video and information

obtained from the Student, the Responding Party, and the Student’s family

members), it determined that the encounter was consensual and as such, did not

constitute sexual harassment or sexual violence... (emphasis added).

34. In December 2017, Mastery Charter School and the United States Department of
Education entered into a Resolution Agreement, in which Mastery acknowledged the multiple
significant deficiencies and areas of non-compliance with Title [X, and agreed to do the
following:

e Submit to the OCR for its review and approval draft Title IX grievance
procedures to address complaints of sex discrimination (including sexual assault
and sexual violence);

e Adopt and implement procedures and provide all students, parents/guardians and
employees with written notice regarding the new grievance procedures for
resolving Title [X complaints together with information on how to obtain a copy
of the grievance procedures;

e Submit to the OCR for its review and approval a draft notice of nondiscrimination
pursuant to 34 C.F.R. §106.9;

e Adopt and implement the notice of nondiscrimination and provide all students,
parents/guardians and employees with written notice regarding the new notice of
nondiscrimination;

e Develop and provide Title [X training to its Title [x Coordinator and any other
Mastery employees who will be directly involved in processing, investigating

and/or resolving complaints of sex discrimination (including sexual harassment)

or who will otherwise assist in Mastery’s compliance with Title IX;
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e Provide Title IX training to all Mastery staff who interact with students on a
regular basis;

e Issue a written offer to pay for A.J.’s counseling/academic/therapy services for
the assessment and/or treatment of the lingering effects from the [sexual assault];

e Develop a centralized record-keeping process for documenting and tracking
complaints of sexual harassment, including sexual assault; and

e Prepare a report summarizing all incidents alleging sexual harassment, including
sexual assault, investigated at the School during the proceeding academic year.

DAMAGES

35. | As aresult of the sexual assault and Defendants’ deliberate indifference to A.J.’s
rights, including the Defendants’ publication and circulation of the video depicting the sexual
assault, A.J. has suffered severe, life-altering and catastrophic damages, including Post
Traumatic Stress Disorder, Major Depressive Disorder, anxiety, emotional distress, fear,
embarrassment, humiliation and other severe developmental, psychiatric, social and emotional
problems.

36. These problems experienced by A.J. have manifested themselves in very serious
and life-threatening ways, necessitating long-term and emergency medical and psychiatric
treatment and behavioral therapy.

COUNT I
VIOLATION OF TITLE IX OF THE EDUCATION AMENDMENTS OF 1972
20 U.S.C. § 1681 ef seq.
Plaintiff v. Defendants Mastery and Pastorius
37. Plaintiff restates and realleges the above preceding paragraphs as though set forth

here in full.

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38. Title [X of the Education Amendments of 1972 (Title IX) enacted broad
prohibition against sex discrimination and harassment by a school receiving federal financial
assistance, providing in relevant part:

No person in the United States shall, on the basis of sex, be excluded from
participation in, be denied the benefits of, or be subjected to discrimination under
any education program or activity receiving Federal financial assistance.

20 U.S.C. § 1681(a).

39. | Defendants own and operate a public charter school that receives federal financial

assistance, and is therefore subject to the requirements of Title IX.

40. Defendants were deliberately indifferent to the sexual harassment and assault
against A.J.
41. | The sexual harassment and assault against A.J., as well as other incidents of

sexual harassment and assault of which Defendants had actual knowledge, was severe, pervasive
and objectively offensive.

42. The sexual harassment and assault against A.J. created a hostile environment at
the School and interfered with A.J’s ability to participate in and benefit from the School’s
educational program.

43.  Defendant’s inappropriate and pathetic response to the sexual harassment and
assault against A.J. further created a hostile environment for A.J.

44, Defendants had an official policy of deliberate indifference to providing adequate
training or guidance that is obviously necessary for investigating and responding to reports of

sexual discrimination, harassment and assault.

11
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45. Defendants’ lack of training and guidance with respect to sexual harassment and
discrimination made students, including A.J., especially vulnerable to sexual harassment and
discrimination at Defendants’ school.

46. Defendants’ failure to investigate and take corrective measures in response to the
sexual assault and harassment of A.J. at the School was clearly unreasonable in light of the
circumstances known to the School.

47. Defendants had actual knowledge of prior incidents of sexual assault and
harassment at the School and took no or insufficient action to implement trainings or policies to
protect students from this known and foreseeable risk.

48. Despite the legal obligation to do so, Defendants did not designate or employ a
Title IX Coordinator to coordinate efforts to comply with and carry out its responsibilities under
Title [X, as required by Title IX’s implementing regulation at 34 C.F.R. § 106.8(a).

49. Despite the legal obligation to do so, Defendants enacted no grievance procedures
to address complaints of sex discrimination (including sexual assault and sexual violence), as
required by Title [X’s implementing regulation at 34 C.F.R. § 106.8(b).

50. Despite the legal obligation to do so, Defendants did not communicate a Notice of
Nondiscrimination to notify students, parents, guardians and employees that the School does not
discriminate on the basis of sex and referring inquiries to the School’s Title IX Coordinator, as
required by 34 C.F.R. § 106.9.

51. Despite the legal obligation to do so, Defendants did not develop or provide any
training with respect to sex discrimination (including sexual assault and sexual violence) to its

Title LX Coordinator or any other employees or personnel.

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52. Despite the legal obligation to do so, Defendants did not develop or maintain any
record-keeping process for documenting and tracking incidents or complaints of sex
discrimination, including sexual assault and sexual violence.

53. The described unlawful practices by Defendants were intentional, deliberate,
willful and were with malice or reckless indifference to Plaintiffs’ rights protected by the laws of
the United States, as well as the laws of the Commonwealth of Pennsylvania.

54. Defendant’s breaches of their legal obligations under Title LX directly lead to the
sexual discrimination and assault on A.J., and has resulted in severe, life-altering and
catastrophic damages.

WHEREFORE, Plaintiff Rosemary Roussaw, as legal guardian of A.J., A Minor,
demands judgment in her favor and against Defendants and requests an award of damages
including, but not limited to compensatory damages, punitive damages, reasonable attorneys’
fees and costs, and other relief as permitted by law and as this court deems just and appropriate.

COUNT I
VIOLATION OF RIGHTS UNDER THE UNITED STATES CONSTITUTION and THE
CIVIL RIGHTS ACT OF 1866, 42 U.S.C. §1983
Plaintiff v. All Defendants

55. Plaintiff restates and realleges the above preceding paragraphs as though set forth
here in full.

56. A.J. has aright, guaranteed by the Fourteenth Amendment of the United States
Constitution, as a public school student under the care and supervision of Defendants, to be free
from sexual discrimination, harassment and assault, personal security, bodily integrity and Equal
Protection under the law.

57. All Defendants were state actors and/or were acting under color of state law.

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58. Sexual discrimination, harassment and assault is a serious and prevalent problem
in public schools, including specifically at Pastorius and Mastery Schools, that requires a level of
training, education and preparation that is commensurate with the harm that such conduct causes
to victims, schools and communities.

59. | Defendants were deliberately indifferent to the problems and obvious risks of
harm associated with the serious and prevalent problems of sexual discrimination, harassment
and assault at Pastorius, and created and maintained a policy and custom of inadequate training,
supervision, reporting, investigation, record keeping, and response to address the serious
problems that lead to sexual discrimination, harassment and assault of students.

60. Defendants had notice of previous incidents of sexual discrimination, harassment
and assault of students at the School at failed to take reasonable and appropriate measures to
provide training, supervision, reporting, investigation, record keeping, and response to prevent
and respond to future incidents of sexual discrimination, harassment and assault of students at
the School.

61. | Defendants deliberate indifference to the need for training, supervision, reporting,
investigation, record keeping, and response was so obvious and deficient, it was foreseeable and
likely to result in the violation of students’ rights, including specifically A.J.

62. Defendants created and maintained a policy, custom and practice that were
inadequate to providing training or guidance and for investigating and responding to reports of
sexual discrimination, harassment and assault at the School.

63. Defendants created and maintained a policy, custom and practice that were
inadequate to allow for appropriate reporting of sexual discrimination, harassment and assault at

the School.

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64. Defendants created and maintained a policy, custom and practice that were
inadequate to monitor and supervise students to prevent incidents of sexual discrimination,
harassment and assault at the School.

65. Defendants created and maintained a policy, custom and practice that were
inadequate to provide emotional support, counseling and a safe environment for victims of
sexual discrimination, harassment and assault at the School.

66. Defendants created and maintained a policy, custom and practice of blaming
victims of sexual discrimination, harassment and assault at the School.

67. Defendants were not appropriately trained on reporting incidents of sexual
discrimination, harassment and assault at the School.

68. Defendants were not appropriately trained to address and respond to incidents of
sexual discrimination, harassment and assault at the School.

69. Defendants were not appropriately trained to identify incidents of sexual
discrimination, harassment and assault at the School.

70. The inadequate policies, customs and practices created and maintained by
Defendants directly lead to the sexual discrimination and assault on A.J., and has resulted in
severe, life-altering and catastrophic damages.

WHEREFORE, Plaintiff Rosemary Roussaw, as legal guardian of A.J., A Minor,
demands judgment in her favor and against Defendants and requests an award of damages
including, but not limited to compensatory damages, punitive damages, reasonable attorneys'

fees and costs, and other relief as permitted by law and as this court deems just and appropriate.

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COUNT Ill

INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
Plaintiff v. All Individual Defendants

Fl. Plaintiff restates and realleges the above preceding paragraphs as though set forth
here in full.

ies Defendants acted recklessly or intentionally by discriminating against A.J. failing
to timely and appropriately responding to threats to A.J. safety.

Ts Defendants acted recklessly or intentionally by allowing for and facilitating the
distribution and publication of the video depicting the sexual assault of A.J.

74. | Defendants’ conduct was extreme and outrageous, especially considering that the
School holds itself out to its students, families and the public as a safe environment for children.

75. Asadirect and proximate result of the extreme and outrageous conduct of
Defendants as set forth above, A.J. has suffered severe emotional distress, requiring intensive
psychiatric treatment.

76, The extreme and outrageous conduct of Defendants, as set forth above, which was
committed with a reckless indifference to the rights of A.J., warrant the imposition of punitive
damages.

WHEREFORE, Plaintiff Rosemary Roussaw, as legal guardian of A.J., A Minor,
demands judgment in her favor and against Defendants and requests an award of damages
including, but not limited to compensatory damages, punitive damages, reasonable attorneys’

fees and costs, and other relief as permitted by law and as this court deems just and appropriate.

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COUNT IV

BREACH OF FIDUCIARY DUTY
Plaintiff v. All Individual Defendants

77. Plaintiff restates and realleges the above preceding paragraphs as though set forth
here in full.

78. A fiduciary relationship exists between the individual defendants and A.J., as the
individual defendants exercise overmastering influence over A.J.

79. A.J. was in a position of dependence and placed her trust in the individual
defendants to maintain a safe and discrimination-free school environment.

80. Individual Defendants had a fiduciary duty and obligation to act in the best
interests of A.J., including but not limited to, not discriminating against A.J., ensuring A.J.’s
safety at school and timely and appropriately responding to threats to A.J. safety.

81. The Individual Defendants intentionally and recklessly breached their fiduciary
duty to A.J. by knowingly discriminating against A.J., failing to ensure A.J.’s safety at school
and failing to timely and appropriately respond to threats to A.J. safety and well-being, including
the sexual assault and the distribution and publication of the video.

82. A.J, suffered severe and permanent damages, all of which were foreseeable, as a
result of Defendant’s breach of fiduciary duty.

WHEREFORE, Plaintiff Rosemary Roussaw, as legal guardian of A.J., A Minor,
demands judgment in her favor and against Defendants and requests an award of damages
including, but not limited to compensatory damages, punitive damages, reasonable attorneys'
fees and costs, and other relief as this court deems appropriate.

JURY DEMAND

The Plaintiff demands trial by jury of all issues triable of right to a jury.

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CERTIFICATION

Thereby certify that Plaintiffs has not brought a similar or related lawsuit encompassing

the claims brought in this matter.

DATED: April 1, 2019

By:

By:

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Respectfully Submitted,
SCHATZ & STEINBERG, P.C.

/s/ Steven J. Schatz

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